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 7
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     DEPARTMENT, and ANTONIO McNEELY
 8
                            UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10

11
     ESTATE OF NORMA GUZMAN, by and )              Case No. CV15-7932 JAK (FFM)
                                               )   Consolidated with CV16-03101 JAK (FFMx)
12   through successor in interest, GLORIA     )
     GONZALEZ, individually                    )   Hon Judge: John A. Kronstadt; Ctrm 10B
13                                             )   Hon Magistrate Judge: Frederick F. Mumm
                                               )
14                      Plaintiffs,            )
     vs.                                       )
                                               )   DEFENDANT CITY OF LOS
15                                             )   ANGELES AND LOS ANGELES
     CITY OF LOS ANGELES, DOE                  )
16                                             )   POLICE DEPARTMENT, AND
     OFFICERS 1 through 5, and DOES 6          )   ANTONIO MCNEELY’S ANSWER
17   through 10, INCLUSIVE, and DOES 1         )   TO PLAINTIFFS’ FIRST AMENDED
     through 10,                               )
18                                             )   COMPLAINT; AND DEMAND FOR
                        Defendants.            )   JURY TRIAL
19   __________________________________ )
                                               )
     MARCOS CASTANEDA, individually )
20
     and as Successor in Interest of Decedent ))
21   Norma Angelica Guzman; E.C., a minor, )
     by and through his Guardian ad litem      )
22                                             )
     MARCOS CASTANEDA, individually, )
23   and as Successor in Interest of Decedent )
     Norma Angelica Guzman, by and through ))
24   successors in interest, MARCOS            )
     CASTANEDA and E.C., a minor, by and )
25                                             )
     through his Guardian Ad litem MARCOS )
26   CASTANEDA,                                )
                              Plaintiffs,      )
27                                             )
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 1   vs.                                )
                                        )
 2                                      )
     CITY OF LOS ANGELES; LOS           )
     ANGELES POLICE DEPARTMENT;         )
 3                                      )
     OFFICER SAMUELBRIGGS; OFFICER )
 4
     ANTONIO MCNEELY; AND DOES 1 ))
 5   through 50, inclusive,             )
                                        )
 6                                      )
                            Defendants. )
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                                        )

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10         COME NOW, Defendants CITY OF LOS ANGELES and LOS ANGELES
11   POLICE DEPARTMENT, and ANTONIO MCNEELY, answering Plaintiffs Marcos
12   Castaneda, E.C., a minor, by and through his guardian ad litem Marcos Castaneda, and
13   Estate of Norma Angelica Guzman, by and through successors in interest, Marcos
14   Castaneda and E.C.’s First Amended Complaint for Damages for itself and for no other

15   parties, admits, denies and alleges as follows:

16
           1. Answering paragraph 1, of the First Amended Complaint, no factual allegations

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     are made therein, and on that basis, the paragraph goes unanswered.
           2. Answering paragraph 2, of the First Amended Complaint, no factual allegations
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     are made therein, and on that basis, the paragraph goes unanswered.
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           3. Answering paragraph 3, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
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           4. Answering paragraph 4, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
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 1         5. Answering paragraph 5, of the First Amended Complaint, Defendants lack
 2   sufficient information and belief upon which to answer the allegations contained therein,
 3   and on that basis, the paragraph goes unanswered.
 4         6. Answering paragraph 6, of the First Amended Complaint, Defendants lack
 5   sufficient information and belief upon which to answer the allegations contained therein,

 6   and on that basis, the paragraph goes unanswered.

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           7. Answering paragraph 7, of the First Amended Complaint, Defendants lack

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     sufficient information and belief upon which to answer the allegations contained therein,
     and on that basis, the paragraph goes unanswered.
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           8. Answering paragraph 8, of the First Amended Complaint, no factual allegations
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     are made therein, and on that basis, the paragraph goes unanswered.
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           9. Answering paragraph 9, of the First Amended Complaint, no factual allegations
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     are made therein, and on that basis, the paragraph goes unanswered.
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           10. Answering paragraph 10, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
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           11. Answering paragraph 11, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
19         12. Answering paragraph 12, of the First Amended Complaint, Defendants lack
20   sufficient information and belief upon which to answer the allegations contained therein,
21   and on that basis, the paragraph goes unanswered.
22         13. Answering paragraph 13, of the First Amended Complaint, Defendants lack
23   sufficient information and belief upon which to answer the allegations contained therein,
24   and on that basis, the paragraph goes unanswered.
25         14. Answering paragraph 14, of the First Amended Complaint, Defendants lack
26   sufficient information and belief upon which to answer the allegations contained therein,

27   and on that basis, the paragraph goes unanswered.
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 1         15. Answering paragraph 15, of the First Amended Complaint, Defendants lack
 2   sufficient information and belief upon which to answer the allegations contained therein,
 3   and on that basis, the paragraph goes unanswered.
 4         16. Answering paragraph 16, of the First Amended Complaint, Defendants lack
 5   sufficient information and belief upon which to answer the allegations contained therein,

 6   and on that basis, the paragraph goes unanswered.

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           17. Answering paragraph 17, of the First Amended Complaint, Defendants lack

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     sufficient information and belief upon which to answer the allegations contained therein,
     and on that basis, the paragraph goes unanswered.
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           18. Answering paragraph 18, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
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           19. Answering paragraph 19, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
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           20. Answering paragraph 20, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
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           21. Answering paragraph 21, of the First Amended Complaint, Defendants lack
19   sufficient information and belief upon which to answer the allegations contained therein,
20   and on that basis, the paragraph goes unanswered.
21         22. Answering paragraph 22, including subsections a-c, of the First Amended
22   Complaint, Defendants lack sufficient information and belief upon which to answer the
23   allegations contained therein, and on that basis, the paragraph goes unanswered.
24         23. Answering paragraph 23, of the First Amended Complaint, Defendants lack
25   sufficient information and belief upon which to answer the allegations contained therein,
26   and on that basis, the paragraph goes unanswered.

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 1         24. Answering paragraph 24, of the First Amended Complaint, Defendants lack
 2   sufficient information and belief upon which to answer the allegations contained therein,
 3   and on that basis, the paragraph goes unanswered.
 4         25. Answering paragraph 25, of the First Amended Complaint, Defendants lack
 5   sufficient information and belief upon which to answer the allegations contained therein,

 6   and on that basis, the paragraph goes unanswered.

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           26. Answering paragraph 26, of the First Amended Complaint, which incorporates

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     by reference the allegations of other paragraphs of the pleading, Defendants to the same
     extent incorporates by reference the answers provided herein to those paragraphs
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           27. Answering paragraph 27, of the First Amended Complaint, no factual
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     allegations are made therein, and on that basis, the paragraph goes unanswered.
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           28. Answering paragraph 28, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
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           29. Answering paragraph 29, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
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           30. Answering paragraph 30, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
19   and on that basis, the paragraph goes unanswered.
20         31. Answering paragraph 31, of the First Amended Complaint, Defendants lack
21   sufficient information and belief upon which to answer the allegations contained therein,
22   and on that basis, the paragraph goes unanswered.
23         32. Answering paragraph 32, of the First Amended Complaint, Defendants lack
24   sufficient information and belief upon which to answer the allegations contained therein,
25   and on that basis, the paragraph goes unanswered.
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 1         33. Answering paragraph 33, of the First Amended Complaint, Defendants lack
 2   sufficient information and belief upon which to answer the allegations contained therein,
 3   and on that basis, the paragraph goes unanswered.
 4         34. Answering paragraph 34, of the First Amended Complaint, Defendants lack
 5   sufficient information and belief upon which to answer the allegations contained therein,

 6   and on that basis, the paragraph goes unanswered.

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           35. Answering paragraph 37, including subsections a-c, of the First Amended

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     Complaint, Defendants lack sufficient information and belief upon which to answer the
     allegations contained therein, and on that basis, the paragraph goes unanswered.
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           36. Answering paragraph 36, including subsections a-c, of the First Amended
10
     Complaint, Defendants lack sufficient information and belief upon which to answer the
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     allegations contained therein, and on that basis, the paragraph goes unanswered.
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           37. Answering paragraph 37, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
15
           38. Answering paragraph 38, of the First Amended Complaint, no factual
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     allegations are made therein, and on that basis, the paragraph goes unanswered.
17
           39. Answering paragraph 39, of the First Amended Complaint, which incorporates
18
     by reference the allegations of other paragraphs of the pleading, Defendants to the same
19   extent incorporates by reference the answers provided herein to those paragraphs
20         40. Answering paragraph 40, of the First Amended Complaint, no factual
21   allegations are made therein, and on that basis, the paragraph goes unanswered.
22         41. Answering paragraph 41, of the First Amended Complaint, no factual
23   allegations are made therein, and on that basis, the paragraph goes unanswered.
24         42. Answering paragraph 42, of the First Amended Complaint, Defendants lack
25   sufficient information and belief upon which to answer the allegations contained therein,
26   and on that basis, the paragraph goes unanswered.

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 1         43. Answering paragraph 43, of the First Amended Complaint, Defendants lack
 2   sufficient information and belief upon which to answer the allegations contained therein,
 3   and on that basis, the paragraph goes unanswered.
 4         44. Answering paragraph 44, of the First Amended Complaint, Defendants lack
 5   sufficient information and belief upon which to answer the allegations contained therein,

 6   and on that basis, the paragraph goes unanswered.

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           45. Answering paragraph 45, of the First Amended Complaint, Defendants lack

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     sufficient information and belief upon which to answer the allegations contained therein,
     and on that basis, the paragraph goes unanswered.
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           46. Answering paragraph 46, including subparts a-c, of the First Amended
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     Complaint, Defendants lack sufficient information and belief upon which to answer the
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     allegations contained therein, and on that basis, the paragraph goes unanswered.
12
           47. Answering paragraph 47, including subparts a-c, of the First Amended
13
     Complaint, Defendants lack sufficient information and belief upon which to answer the
14
     allegations contained therein, and on that basis, the paragraph goes unanswered.
15
           48. Answering paragraph 42, including subparts a-c, of the First Amended
16
     Complaint, Defendants lack sufficient information and belief upon which to answer the
17
     allegations contained therein, and on that basis, the paragraph goes unanswered.
18
           49. Answering paragraph 49, of the First Amended Complaint, no factual
19   allegations are made therein, and on that basis, the paragraph goes unanswered.
20         50. Answering paragraph 50, of the First Amended Complaint, no factual
21   allegations are made therein, and on that basis, the paragraph goes unanswered.
22         51. Answering paragraph 51, of the First Amended Complaint, Defendants lack
23   sufficient information and belief upon which to answer the allegations contained therein,
24   and on that basis, the paragraph goes unanswered.
25         52. Answering paragraph 52, of the First Amended Complaint, Defendants lack
26   sufficient information and belief upon which to answer the allegations contained therein,

27   and on that basis, the paragraph goes unanswered.
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 1         53. Answering paragraph 53, of the First Amended Complaint, Defendants lack
 2   sufficient information and belief upon which to answer the allegations contained therein,
 3   and on that basis, the paragraph goes unanswered.
 4         54. Answering paragraph 54, of the First Amended Complaint, Defendants lack
 5   sufficient information and belief upon which to answer the allegations contained therein,

 6   and on that basis, the paragraph goes unanswered.

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           55. Answering paragraph 55, subparagraphs a-c, of the First Amended Complaint,

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     Defendants lack sufficient information and belief upon which to answer the allegations
     contained therein, and on that basis, the paragraph goes unanswered.
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           56. Answering paragraph 56, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
12
           57. Answering paragraph 57, of the First Amended Complaint, no factual
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     allegations are made therein, and on that basis, the paragraph goes unanswered.
14
           58. Answering paragraph 58, of the First Amended Complaint, Defendants lack
15
     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
17
           59. Answering paragraph 59, of the First Amended Complaint, Defendants lack
18
     sufficient information and belief upon which to answer the allegations contained therein,
19   and on that basis, the paragraph goes unanswered.
20         60. Answering paragraph 60, of the First Amended Complaint, Defendants lack
21   sufficient information and belief upon which to answer the allegations contained therein,
22   and on that basis, the paragraph goes unanswered.
23         61. Answering paragraph 61, of the First Amended Complaint, Defendants lack
24   sufficient information and belief upon which to answer the allegations contained therein,
25   and on that basis, the paragraph goes unanswered.
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 1         62. Answering paragraph 62, subparagraph a-c, of the First Amended Complaint,
 2   Defendants lack sufficient information and belief upon which to answer the allegations
 3   contained therein, and on that basis, the paragraph goes unanswered.
 4         63. Answering paragraph 63, of the First Amended Complaint, no factual
 5   allegations are made therein, and on that basis, the paragraph goes unanswered.

 6         64. Answering paragraph 64, of the First Amended Complaint, no factual

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     allegations are made therein, and on that basis, the paragraph goes unanswered.

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           65. Answering paragraph 65, of the First Amended Complaint, Defendants lack
     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
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           66. Answering paragraph 66, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
13
           67. Answering paragraph 67, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
16
           68. Answering paragraph 68, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
19         69. Answering paragraph 69, of the First Amended Complaint, no factual
20   allegations are made therein, and on that basis, the paragraph goes unanswered.
21         70. Answering paragraph 70, of the First Amended Complaint, Defendants lack
22   sufficient information and belief upon which to answer the allegations contained therein,
23   and on that basis, the paragraph goes unanswered.
24         71. Answering paragraph 71, of the First Amended Complaint, Defendants lack
25   sufficient information and belief upon which to answer the allegations contained therein,
26   and on that basis, the paragraph goes unanswered.

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 1         72. Answering paragraph 72, of the First Amended Complaint, no factual
 2   allegations are made therein, and on that basis, the paragraph goes unanswered.
 3         73. Answering paragraph 73, of the First Amended Complaint, Defendants lack
 4   sufficient information and belief upon which to answer the allegations contained therein,
 5   and on that basis, the paragraph goes unanswered.

 6         74. Answering paragraph 74, of the First Amended Complaint, Defendants lack

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     sufficient information and belief upon which to answer the allegations contained therein,

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     and on that basis, the paragraph goes unanswered.
           75. Answering paragraph 75, of the First Amended Complaint, Defendants lack
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     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
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           76. Answering paragraph 76, of the First Amended Complaint, Defendants lack
12
     sufficient information and belief upon which to answer the allegations contained therein,
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     and on that basis, the paragraph goes unanswered.
14
                                  AFFIRMATIVE DEFENSES
15
           As a separate and distinct affirmative defenses, Defendants allege each of the
16
     following:
17
                               FIRST AFFIRMATIVE DEFENSE
18
           As to the federal claims and theories of recovery, these answering defendants are
19   protected from liability under the doctrine of qualified immunity, because defendants’
20   conduct did not violate clearly established statutory or constitutional rights of which a
21   reasonable person would have known.
22                           SECOND AFFIRMATIVE DEFENSE
23         Decedent had actual knowledge of the condition and particular danger alleged,
24   knew and understood the degree of the risk involved, and voluntarily assumed such risk.
25   Not all information known at this time.
26   ///

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 1                             THIRD AFFIRMATIVE DEFENSE
 2         Failure to Mitigate Damages: Decedent has failed to take reasonable measures/
 3   action to avoid the injuries/damages alleged in his Complaint, and thus any recovery
 4   should be reduced accordingly.
 5                           FOURTH AFFIRMATIVE DEFENSE

 6         Defendants' actions are privileged pursuant to Civil Code §47.

 7                             FIFTH AFFIRMATIVE DEFENSE

 8
           Defendant City of Los Angeles and all Defendants sued in their official capacities
     are immune from the imposition of punitive damages.
 9
                               SIXTH AFFIRMATIVE DEFENSE
10
           Defendants are immune from liability pursuant to the provisions of each of the
11
     following California statutes, each of which is set forth as a separate and distinct
12
     affirmative defense:
13
           Government Code §§ 815.2, 815.6, 818, 818.8,820.2, 820.4,820.8,821.6,822.2,
14
                  835a, 845, 845.6,845.8, 846, 850.8, 855.6, 856.4,29631 and 29632.
15
                             SEVENTH AFFIRMATIVE DEFENSE
16
            Defendants allege that Decedent is bound to exercise reasonable care and
17
     diligence to avoid loss and to minimize damages complained of, if any, and Plaintiff
18
     may not recover for losses that could have been prevented by Decedent’s reasonable
19   efforts or by expenditures that Decedent might have reasonably made; and that Decedent
20   failed to mitigate her damages, if any there were.
21                            EIGHTH AFFIRMATIVE DEFENSE
22          Neither a public entity, nor a public employee, is liable for his/her act or
23   omission, exercising due care, in the execution or enforcement of any law.
24                             NINTH AFFIRMATIVE DEFENSE
25         Unavoidable Detriment: To the extent that Decedent suffered any detriment or
26   injury, such detriment or injury was unavoidable.

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 1                            TENTH AFFIRMATIVE DEFENSE
 2         Wrongful act of Decedent or others. Any injury or damage suffered was due to or
 3   caused solely by reason of Decedent or other's wrongful acts and conduct, and not by
 4   reason of any wrongful acts or omissions of Defendants.
 5                         ELEVENTH AFFIRMATIVE DEFENSE

 6         The damages alleged, if any, were directly and proximately caused and

 7
     contributed to by the negligence of Decedent, and the extent of damages sustained, if

 8
     any, should be reduced in proportion to the amount of said negligence.
                            TWELVTH AFFIRMATIVE DEFENSE
 9
           The damages alleged were directly and proximately caused and contributed to by
10
     the negligence of other persons, and the extent of damages sustained, if any, should be
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     reduced in proportion to the amount of said negligence.
12
                          THIRTEENTH AFFIRMATIVE DEFENSE
13
           Apportionment of Fault: If it is found that any Defendants are legally responsible
14
     for the damages, if any, which Defendants specifically deny, then such damages were
15
     proximately caused by or contributed to by Decedent or others, whether served or not,
16
     and it is necessary that the proportionate degree of fault of every such person be
17
     determined and prorate by the trier of fact, and that any judgment which might be
18
     rendered against any Defendant be reduced by that percentage of fault to be found to
19   exist of Decedent or others and causative fault, whether sued herein or not.
20                        FOURTEENTH AFFIRMATIVE DEFENSE
21         Superseding Cause: Any alleged acts or omissions by Defendants and or its
22   agents, officers, and/or employees were superseded by the negligence or causative fault
23   of Decedent or others, whether sued herein or not, whose negligence or causative fault
24   intervened and was the sole cause of any detriment to Plaintiff as alleged in the
25   Complaint.
26   ///

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 1                           FIFTEENTH AFFIRMATIVE DEFENSE
 2         The state claims are barred for Plaintiffs’ failure to comply with the provisions of
 3   the California Tort Claims Act, Government Code § 910 et seq.
 4                           SIXTEENTH AFFIRMATIVE DEFENSE
 5         The claims are barred for Plaintiff s failure to comply with the statute of

 6   Limitations.

 7
     Dated: April 13, 2017           MICHAEL N. FEUER, City Attorney
 8                                   THOMAS H. PETERS, Chief Assistant City Attorney
                                     CORY M. BRENTE, Supervising City Attorney
 9

10
                                     By:      /s/ Christian R. Bojorquez
11                                   CHRISTIAN R. BOJORQUEZ, Deputy City Attorney
12
                                     Attorneys for Defendants CITY OF LOS ANGELES,
                                     LOS ANGELES POLICE DEPARTMENT, and
13                                   ANTONIO MCCNEELY
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 1                                DEMAND FOR JURY TRIAL
 2           Defendants hereby demand and request a trial by jury in this matter.
 3             WHEREFORE, defendants prays for judgment as follows:
 4                 1.    That plaintiffs take nothing by this action;
 5                 2.    That the action be dismissed;

 6                 3.    That defendants be awarded costs of suit;

 7
                   4.    That defendants be awarded other and further relief as the Court may

 8
     deem just and proper, including an award of attorney's fees pursuant to 42 U.S.C. §
     1988.
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10
     Dated: April 13, 2017            MICHAEL N. FEUER, City Attorney
11                                    THOMAS H. PETERS, Chief Assistant City Attorney
                                      CORY M. BRENTE, Supervising City Attorney
12

13                                    By:      /s/ Christian R. Bojorquez
14                                    CHRISTIAN R. BOJORQUEZ, Deputy City Attorney
                                      Attorneys for Defendants CITY OF LOS ANGELES
15
                                      LOS ANGELES POLICE DEPARTMENT, and
16                                    ANTONIO MCNEELY
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